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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

NORTHERN DIVISION
UNITED STATES OF AMERICA, CRIMINAL NO. 22-20670
Plaintiff, HON. THOMAS L. LUDINGTON
_vs-
D-1 ANTHONY DEMASI,
Defendant.

/

 

DEFENDANT'S ACKNOWLEDGMENT OF SUPERSEDING INDICTMENT

I, ANTHONY DEMASI, defendant in the above-entitled cause, hereby
acknowledge that I have received a copy of the Superseding Indictment filed in the
above-entitled cause prior to pleading thereto, and I have read the same and
understand the contents thereof.

I know that if I am convicted or plead guilty, | may be sentenced as follows:

COUNTS I, Ul, and V: (BANK FRAUD, 18 U.S.C. § 1344): A maximum
of 30 years in prison and or a fine of up to $1,000,000.00)

COUNTS II, [V, and VI: (AGGRAVATED IDENTITY THEFT, 18
U.S.C. § 1028A): A mandatory consecutive two years in prison and or a fine of

$250,000.00 ;
DATED: MAY 9, 2023

ANTHONY DEMASI
ACKNOWLEDGMENT OF DEFENSE COUNSEL
I acknowledge that I am counsel for defendant and that I have received a copy of the
Standing Order For Discovery and Inspection which requires all pre-trial motions to be filed
within twenty (20) days of arraignment.

Yurn fram fp Dated: May 9, 2023

CHARLES E. CHAMBERL
ATTORNEY FOR ANTH 7 ORAS
